Case 8:24-mj-00292-CFH Document 1 Filed 06/24/24 Page 1 of 7




                                       8
Case 8:24-mj-00292-CFH Document 1 Filed 06/24/24 Page 2 of 7
Case 8:24-mj-00292-CFH Document 1 Filed 06/24/24 Page 3 of 7
Case 8:24-mj-00292-CFH Document 1 Filed 06/24/24 Page 4 of 7
Case 8:24-mj-00292-CFH Document 1 Filed 06/24/24 Page 5 of 7
Case 8:24-mj-00292-CFH Document 1 Filed 06/24/24 Page 6 of 7
Case 8:24-mj-00292-CFH Document 1 Filed 06/24/24 Page 7 of 7
